     Case 3:24-cv-01100-JO-KSC     Document 7    Filed 07/02/24   PageID.318     Page 1 of 1



1     BARNES & THORNBURG LLP
      ERIC BESTE (SBN 226089)
2     eric.beste@btlaw.com
      AMY C. POYER (SBN 277315)
3     amy.poyer@btlaw.com
      655 West Broadway, Suite 1300
4     San Diego, California 92101
      Telephone: 619-321-5000
5     Facsimile: 310-284-3894
6     CHAD S.C. STOVER (pro hac vice forthcoming)
      chad.stover@btlaw.com
7     222 Delaware Avenue, Suite 1200
      Wilmington, DE 19801
8     Telephone: 302-300-3474
9     Attorneys for Plaintiffs
      ACCO BRANDS USA LLC and
10    BENSUSSEN DEUTSCH & ASSOCIATES LLC
11
                        IN THE UNITED STATES DISTRICT COURT
12                       SOUTHERN DISTRICT OF CALIFORNIA
13
      ACCO BRANDS USA LLC and                     Case No.: 3:24-cv-1100-JO-KSC
14    BENSUSSEN DEUTSCH &
      ASSOCIATES LLC,                             BENSUSSEN DEUTSCH &
15                                                ASSOCIATES LLC’S CORPORATE
                     Plaintiffs,                  DISCLOSURE STATEMENT
16    v.
      PERFORMANCE DESIGNED                        Complaint filed: June 25, 2024
17
      PRODUCTS LLC,                               District Judge: Hon. Jinsook Ohta
18                    Defendant.
19          Pursuant to Civil Local Rule 40.2 and Federal Rule of Civil Procedure 7.1, Plaintiff
20    Bensussen Deutsch & Associates LLC hereby states that it has no parent corporation and
21    no company owns 10% or more of its stock.
22
23          Dated: July 2, 2024                    BARNES & THORNBURG LLP
24
25                                                 By: /s/ Eric J. Beste
                                                   Eric J. Beste
26                                                 Amy C. Poyer
                                                   Attorneys for Plaintiffs
27
28

                      BENSUSSEN DEUTSCH CORPORATE DISCLOSURE STATEMENT
                                                                  CASE NO. 3:24-CV-1100-JO-KSC
